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                               UNITED STATES DISTRICT COURT
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                           CENTRAL DISTRICT OF CALIFORNIA
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  12
       QBE SPECIALTY INSURANCE              Case No. 5:21-cv-00905-JWH-SHKx
  13
       COMPANY,                             The Honorable Judge John W. Holcomb
  14
                  Plaintiff,
  15                                        ORDER TO REOPEN CASE
            vs.
  16                                        NOTE CHANGES MADE BY COURT
       COUNTY OF RIVERSIDE, THE
  17   COUNTY OF SAN BERNARDINO
  18   and PUBLIC RISK INNOVATION
                                            Action Filed: May 25, 2021
       SOLUTIONS AND MANAGEMENT
  19                                        Trial Date: TBD
       formerly known as CSAC EXCESS
  20   INSURANCE AUTHORITY,
  21              Defendants.
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                                            1               Case No. 5:21-cv-00905-JWH-SHK
                                          ORDER
                                           Case 5:21-cv-00905-JWH-SHK Document 19 Filed 02/25/22 Page 2 of 2 Page ID #:157




                                                        1             The Court, having considered Plaintiff QBE SPECIALTY INSURANCE
                                                        2 COMPANY (“QBE”) and defendants COUNTY OF RIVERSIDE (“Riverside”) ,

                                                        3 THE COUNTY OF SAN BERNARDINO (“San Bernardino”) , and PUBLIC RISK

                                                        4 INNOVATION SOLUTIONS AND MANAGEMENT’s (“PRISM”) joint report,

                                                        5 GRANTS the request and hereby ORDERS as follows:

                                                        6             1.   The STAY is LIFTED. This case is placed back on the active
                                                        7 calendar.

                                                        8             2.   Defendants Riverside and PRISM are DIRECTED to file their
                                                        9 respective responsive pleadings no later than March 28, 2022.

                                                       10             3.   Plaintiff QBE is DIRECTED no later than March 28, 2022, either
                                                       11 (a) to dismiss Defendant San Bernardino without prejudice; or (b) to file a report
                    4 Embarcadero Center, Suite 1350
                     San Francisco, California 94111




                                                       12 with the Court explaining why Defendant San Bernardino has not been dismissed.
                       Telephone: (415) 365-9800
CLYDE & CO US LLP




                                                       13             4.   The Clerk is DIRECTED to REOPEN this case.
                                                       14             IT IS SO ORDERED.
                                                       15

                                                       16 Dated: February 25, 2022

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                                                       18                                       By:
                                                                                                      Honorable John W. Holcomb
                                                       19                                             UNITED STATES DISTRICT JUDGE
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                                                                                                   ORDER
